Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 1 of 10 Page ID #:3997

                                                                          8/16/2018
                                                                              MG
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA


  XOCHITL HERNANDEZ and                  ) Civil Action No. 5:16-cv-00620-JGB-KKx
  CESAR MATIAS, for themselves           )
  and on behalf of a class of            )
  similarly-situated individuals,        )      Declaration of Jean King
                                         )
  Plaintiffs-Petitioners,                )
                                         )
  v.                                     )
                                         )
  JEFFERSON B. SESSIONS III,             )      Hon. Rosalyn M. Chapman
  U.S. Attorney, et al.,                 )
                                         )
  Defendants-Respondents.                )




  I, Jean King, declare as follows:

       1.   I serve as the General Counsel of the Executive Office for Immigration
            Review (EOIR). In this capacity, I manage the Office of the General
            Counsel (OGC) and provide legal counsel on matters pertaining to the
            Immigration and Nationality Act and other laws and procedures as they
            relate to EOIR, among other duties. I have served in this position since
            2015.

       2.   I have prepared this declaration to support elimination of below identified
            custodians from the custodian list or have the search of their documents
            limited to the appropriate timeframe within the relevant time period. The
            identified potential custodians only possess documents from outside the
            relevant period, are not likely to possess responsive documents because
            they held a position outside of the Central District of California, or are
            likely to possess only duplicative documents or a subset of responsive
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 2 of 10 Page ID #:3998



           materials due to changes in position or location. Thus eliminating these
           identified custodians will allow EOIR to more efficiently utilize agency
           resources in responding to Plaintiffs’ Request for Production.

      3.   I herein incorporate the facts in my previous declaration, dated July 20,
           2018.

                                      Agency Resources

      4.   OGC has one office in Falls Church, VA, with a current staff size of 38
           federal employee attorneys and support staff. OGC supports litigation,
           policy, regulations, the fraud program, the attorney discipline program,
           FOIA, employee-labor relations, ethics, records management, and
           privacy for EOIR.

      5.   I estimate that on account of other ongoing agency demands of OGC,
           including competing litigation demands in the approximately 15 active
           class action cases with ongoing discovery, depositions, and responsive
           filing deadlines, only approximately six OGC employees are available to
           work part-time on the extensive review and technical work this case
           requires. Six employees represents close to sixteen percent of OGC’s
           staff.

      6.   It is my understanding that there are currently 30,000 items that need to
           be reviewed by OGC attorneys, identified for responsiveness, and
           redacted for any privilege or applicable protection in accordance with
           both federal law and the protective order.

      7.   EOIR estimates that an employee can review approximately 30 items in
           an hour for responsiveness and privilege, including marking for privilege
           or other appropriate redactions. Accordingly, it will take approximately
           1,000 employee hours to complete the data review of all 30,000 items.

      8.   Given the vast amount of items that require review, and the limited
           number of employees available to conduct the review, it is vital that
           EOIR utilize its resources efficiently by reviewing items from custodians
           who are most likely to possess responsive information from the relevant

                                           2
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 3 of 10 Page ID #:3999



           time period designated by the Special Master, which extends from
           January 1, 2016 to the date of data collection for the specific custodian
           (relevant time period).

      9.   To that end, EOIR seeks to eliminate custodians who are unlikely to
           possess unique responsive material for the relevant time period or, in
           some instances, to limit its document search to an appropriate timeframe
           within the relevant time period.

                                     Potential Custodians

      10. Judge Mary Beth Keller has served as the Chief Immigration Judge since
          September of 2016. Prior to her appointment as the Chief Immigration
          Judge, she served as the Assistant Chief Immigration Judge (ACIJ) for
          Conduct and Professionalism, a program that handles complaints made
          against Immigration Judges. EOIR acknowledges that Chief Judge
          Keller is likely to possess responsive documents that she generated or
          acquired during her tenure as Chief Judge. However, any documents she
          generated or acquired prior to her tenure as the Chief Immigration Judge
          are unlikely to be responsive. A targeted search of Chief Judge Keller’s
          documents would be limited to the specific date range of September 21,
          2016, until January 1, 2018. This timeframe starts with her tenure as
          Chief Judge and ends with the date that her documents were collected.

      11. Judge Brian O’Leary has served in various roles during his career with
          EOIR. However, after stepping down as Chief Immigration Judge in July
          of 2015, Judge O’Leary served as a temporary board member, and has
          not worked in a supervisory capacity for the agency. Moreover, Judge
          O’Leary retired on January 31, 2016. Given that Judge O’Leary did not
          have oversight responsibility for any Immigration Court during the
          relevant time period, he is unlikely to possess responsive documents.

      12. Judge Mary M. Cheng currently serves as a DCIJ for the East, and has
          held this position since March 13, 2017. Prior to her current position,
          Judge Cheng served as an ACIJ with responsibility over the New York
          Immigration Court from November 15, 2017 to March 13, 2017. EOIR
          acknowledges that Judge Cheng is likely to possess responsive

                                           3
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 4 of 10 Page ID #:4000



           documents that were generated or acquired during her tenure as DCIJ,
           however, these documents are likely to be duplicative those in the
           possession of Judge Maggard (DCIJ-West), Judge Rooyani (ACIJ-Los
           Angeles), and Judge Laurent (ACIJ-Los Angeles Detained and
           Adelanto). EOIR believes Chief Judge Keller, DCIJ Maggard, and the
           ACIJs with direct responsibility for immigration courts located in the
           Central District of California will, based on their localized
           responsibilities, have a greater number and range of responsive
           documents in their possession, making them better custodians. If Judge
           Cheng is not removed from the list of potential custodians, limiting the
           search of her documents to the period of March 13, 2017 to January 1,
           2018 (the time she has served as DCIJ-East to the date of collection)
           would reasonably conserve EOIR resources by limiting review to the
           period when she was most likely to possess documents not in the
           possession of all immigration judges nationwide but only those in the
           possession of all DCIJs nationwide.

      13. Judge Michael McGoings served as DCIJ at Headquarters from October
          of 2009 until his retirement in July of 2017. From March of 2016 until
          October of 2016, Judge McGoings served as the Acting Chief
          Immigration Judge. EOIR acknowledges that Judge McGoings may have
          responsive documents that were generated or acquired during his tenure
          as DCIJ and Acting Chief Immigration Judge, however, these documents
          are likely to be duplicative of those possessed by Chief Judge Keller and
          DCIJ Maggard. EOIR believes Chief Judge Keller, DCIJ Maggard, and
          the ACIJs with direct responsibility for immigration courts located in the
          Central District of California will, based on their localized
          responsibilities, have a greater number and range of responsive
          documents in their possession, making them better custodians. If Judge
          McGoings is not removed from the list of potential custodians, the
          relevant timeframe for a search of Judge McGoings’s documents would
          be limited to the timeframe when he was Acting CIJ from March 22,
          2016 to October 1, 2016.

      14. Judge Edward F. Kelly is currently a Board Member at the Board of
          Immigration Appeals. He previously served as a DCIJ at Headquarters
          from March 10, 2013, until January 7, 2017. EOIR acknowledges that

                                           4
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 5 of 10 Page ID #:4001



           Judge Kelly may possess responsive documents that were generated or
           acquired during his tenure as DCIJ, however, these documents are likely
           to be duplicative of those possessed by Chief Judge Keller and DCIJ
           Maggard. EOIR believes Chief Judge Keller, DCIJ Maggard, and the
           ACIJs with direct responsibility for immigration courts located in the
           Central District of California will, based on their localized
           responsibilities, have a greater number and range of responsive
           documents in their possession, making them better custodians. If Judge
           Kelly is not removed from the list of potential custodians, a targeted
           search of Judge Kelly’s documents would be limited to the timeframe
           between January 1, 2016, and January 7, 2017.

      15. Judge Stephen Griswold served as an ACIJ for Guidance and
          Publications from February 21, 2016, until his retirement in February of
          2018. Prior to February 21, 2016, Judge Griswold served in a non-
          supervisory Immigration Judge position. EOIR acknowledges that Judge
          Griswold is likely to possess responsive documents that he generated or
          acquired during his tenure as ACIJ. However, documents he produced or
          obtained prior to his appointment as ACIJ are likely to be nonresponsive.
          Limiting the search of his documents to the period of February 21, 2016,
          and January 1, 2018 (the time he served as ACIJ to the date of collection)
          would reasonably conserve EOIR resources by limiting review to the
          period when he was most likely to possess responsive documents.

      16. Judge Thomas Y. K. Fong retired from EOIR on January 3, 2016. Given
          that Judge Fong retired at the beginning of the relevant time period, he is
          unlikely to possess responsive documents and will only possess
          documents from outside the relevant time period.

      17. Judge Abigail Price was the ACIJ for Vulnerable Populations. Given that
          Judge Price left EOIR on May 1, 2015, she will only possess documents
          from outside the relevant time period.

      18. Judge Gary Smith was appointed to the position of ACIJ in 2005. He
          retired in 2012. Given that Judge Smith did not work for EOIR during
          the relevant time period, he is unlikely to possess responsive documents.


                                           5
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 6 of 10 Page ID #:4002



      19. Judge Christopher Santoro has served as at DCIJ at Headquarters since
          Fall 2015. Prior to that, Judge Santoro was ACIJ for various courts on
          the east coast, including York, Philadelphia, Baltimore, HQIC (Falls
          Church, VA), Arlington, Charlotte, Memphis, New Orleans, and
          Oakdale. EOIR acknowledges that DCIJ Santoro may possess responsive
          documents that were generated or acquired during his tenure as DCIJ,
          however, EOIR believes Chief Judge Keller, DCIJ Maggard, and the
          ACIJs with direct responsibility for immigration courts located in the
          Central District of California will, based on their localized
          responsibilities, have a greater number and range of responsive
          documents in their possession, making them better custodians.
          Additionally, any responsive documents in DCIJ Santoro’s possession
          are likely to be duplicative of Chief Judge Keller and DCIJ Maggard.

      20. Judge Amy C. Hoogasian currently serves as the ACIJ for the San
          Francisco Immigration Court. In the past, Judge Hoogasian has also been
          responsible for overseeing the Portland, Seattle, and Tacoma Immigration
          Courts. Given that Judge Hoogasian has never held a position within the
          Central District of California during the relevant time period, she is
          unlikely to possess responsive documents focused on policies and
          practices in the Central District of California and that were not
          distributed to all ACIJs nationwide and would also therefore be in the
          possession of Chief Judge Mary Beth Keller and DCIJ Maggard.

      21. Judge Clarence M. Wagner Jr. is currently serving as an Immigration
          Judge at the Honolulu Immigration Court. From February of 2016 until
          May of 2017, Judge Wagner was ACIJ with responsibility over the
          Houston Immigration Court. Prior to that he was in a non-supervisory
          Immigration Judge position. Given that Judge Wagner did not hold a
          position within the Central District of California during the relevant time
          period, he is unlikely to possess responsive documents focused on
          policies and practices in the Central District of California and that were
          not distributed to all ACIJs nationwide and would also therefore be in the
          possession of Chief Judge Mary Beth Keller and DCIJ Maggard.

      22.   Judge Deepali Nadkarni is the ACIJ with responsibility over the
            Arlington, Batavia, Buffalo, and Charlotte Immigration Courts. Given

                                          6
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 7 of 10 Page ID #:4003



           that Judge Nadkarni never held a position within the Central District of
           California during the relevant time period, she is unlikely to possess
           responsive documents focused on policies and practices in the Central
           District of California and that were not distributed to all ACIJs
           nationwide and would also therefore be in the possession of Chief Judge
           Mary Beth Keller and DCIJ Maggard.

      23. Judge Elisa M. Sukkar is the ACIJ with responsibility for the Houston,
          Houston Service Processing Center, Krome, and Miami Immigration
          Courts. She has held the position of ACIJ since 2008. Given that Judge
          Sukkar did not hold a position within the Central District of California
          during the relevant time period, she is unlikely to possess responsive
          documents focused on policies and practices in the Central District of
          California and that were not distributed to all ACIJs nationwide and
          would also therefore be in the possession of Chief Judge Mary Beth
          Keller and DCIJ Maggard.

      24. Judge Frank J. Loprest was appointed to the position of ACIJ in April of
          2017. He has responsibility over the Fishkill, New York, Ulster, and
          Varick Immigration Courts. Given that Judge Loprest did not hold a
          position within the Central District of California during the relevant time
          period, he is unlikely to possess responsive documents focused on
          policies and practices in the Central District of California and that were
          not distributed to all ACIJs nationwide and would also therefore be in the
          possession of Chief Judge Mary Beth Keller and DCIJ Maggard.

      25. Judge H. Kevin Mart was appointed to the position of ACIJ in 2015. He
          has responsibility over the Atlanta, LaSalle, Louisville, Lumpkin,
          Memphis, New Orleans, and Oakdale Immigration Courts. Given that
          Judge Mart did not hold a position within the Central District of
          California during the relevant time period, he is unlikely to possess
          responsive documents focused on policies and practices in the Central
          District of California and that were not distributed to all ACIJs
          nationwide and would also therefore be in the possession of Chief Judge
          Mary Beth Keller and DCIJ Maggard.



                                          7
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 8 of 10 Page ID #:4004



      26. Judge Irene C. Feldman was appointed to the position of ACIJ in 2015.
          She has responsibility over the Eloy, Florence, Phoenix, and Tucson
          Immigration Courts. Given that Judge Feldman did not hold a position
          within the Central District of California during the relevant time period,
          she is unlikely to possess responsive documents focused on policies and
          practices in the Central District of California and that were not
          distributed to all ACIJs nationwide and would also therefore be in the
          possession of Chief Judge Mary Beth Keller and DCIJ Maggard.

      27. Judge Jill Dufresne served as an ACIJ from 2010 until her retirement in
          2018. She had responsibility over the Boston, Hartford, Buffalo, Batavia,
          Newark, and Elizabeth Immigration Courts. Given that Judge Dufresne
          did not hold a position within the Central District of California during the
          relevant time period, she is unlikely to possess responsive documents
          focused on policies and practices in the Central District of California and
          that were not distributed to all ACIJs nationwide and would also
          therefore be in the possession of Chief Judge Mary Beth Keller and DCIJ
          Maggard.

      28. Judge John Davis is currently serving as a non-supervisory Immigration
          Judge at the Eloy Immigration Court. He served as an ACIJ from 2012
          to 2015. Given that Judge Davis was not in a supervisory position during
          the relevant time period, he is unlikely to possess responsive documents.

      29. Judge Larry R. Dean served as an ACIJ from January 1, 2012, until May
          31, 2013. Given that Judge Dean was not in a supervisory position
          during the relevant time period, he is unlikely to possess responsive
          documents.

      30. Judge Richard J. Bartolomei Jr. was appointed to the position of ACIJ in
          2012, though he had previously served as an ACIJ from 2006 until 2009.
          During his tenure as ACIJ, Judge Bartolomei has had responsibility over
          the San Diego, Honolulu, Saipan, Otay Mesa, Imperial, Florence, Eloy
          and Las Vegas Immigration Courts. Given that Judge Bartolomei did not
          hold a position in the Central District of California during the relevant
          time period, he is unlikely to possess responsive documents focused on
          policies and practices in the Central District of California and that were

                                           8
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 9 of 10 Page ID #:4005



           not distributed to all ACIJs nationwide and would also therefore be in the
           possession of Chief Judge Mary Beth Keller and DCIJ Maggard.

      31. Judge Robert D. Weisel was appointed to the position of ACIJ in January
          of 2012. During his tenure as ACIJ, Judge Weisel had responsibility over
          the New York and New Jersey Immigration Courts. Given that Judge
          Weisel did not hold a position in the Central District of California during
          the relevant time period, he is unlikely to possess responsive documents
          focused on policies and practices in the Central District of California and
          that were not distributed to all ACIJs nationwide and would also
          therefore be in the possession of Chief Judge Mary Beth Keller and DCIJ
          Maggard.

      32. Judge Sheila McNulty was appointed to the position of ACIJ in
          November of 2015. She has responsibility over the Boston, Chicago,
          Cleveland, Detroit, and Hartford Immigration Courts. Given that Judge
          McNulty did not hold a position in the Central District of California
          during the relevant time period, she is unlikely to possess responsive
          documents focused on policies and practices in the Central District of
          California and that were not distributed to all ACIJs nationwide and
          would also therefore be in the possession of Chief Judge Mary Beth
          Keller and DCIJ Maggard.

      33. The potential custodians listed above only possess documents from
          outside the relevant period, are not likely to possess responsive
          documents because they held a positions outside of the Central District of
          California, or are likely to possess only a subset of responsive materials
          due to changes in position or location. By eliminating these potential
          custodians from the custodians list, or by having the search of their
          documents limited to the appropriate timeframe within the relevant time
          period, EOIR will be able to utilize its resources more efficiently.




                                          9
Case 5:16-cv-00620-JGB-KK Document 210 Filed 08/16/18 Page 10 of 10 Page ID #:4006



                                       Conclusion

   I declare under penalty and perjury that the forgoing is true and correct:




   Executed on August 3, 2018                 _______________________
                                                         Jean C. King




                                             10
